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                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION


   Quanisha Barfield,                                 No. 1:23-cv-22449-DPG

           Plaintiff,

   v.                                                 NOTICE OF SETTLEMENT AS TO
                                                      DEFENDANT HEALTHCARE REVENUE
   Affirm, Inc.; Healthcare Revenue Recovery          RECOVERY GROUP, LLC DBA ACCOUNT
   Group, LLC dba Account Resolution                  RESOLUTION SERVICES
   Services; TD Bank USA, N.A. Opportunity
   Financial, LLC; Equifax Information
   Services, LLC; Experian Information
   Solutions, Inc.; and TransUnion, LLC

           Defendants.


        Plaintiff Quanisha Barfield, by and through undersigned counsel, hereby notifies the Court

  that Plaintiff has reached a settlement in the above-referenced matter with Defendant Healthcare

  Revenue Recovery Group, LLC dba Account Resolution Services (“ARS”). Plaintiff and ARS are

  in the process of finalizing the settlement, whereupon Plaintiff will move for dismissal with

  prejudice. Plaintiff anticipates that the settlement and dismissal of claims against ARS will be

  finalized within the next sixty (60) days. Plaintiff’s claims against remaining Defendants remain

  pending.

        Dated:    August 21, 2023


                                            McCarthy Law, PLC

                                            /s/ Trescot Gear
                                            Gear Law, LLC
                                            1405 W. Swann Ave.
                                            Tampa, FL 33606




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                                             Mailing Address:
                                             McCarthy Law, PLC
                                             4250 North Drinkwater Blvd, Suite 320
                                             Scottsdale, AZ 85251
                                             Telephone: (602) 456-8900
                                             Fax: (602) 218-4447
                                             Attorney for Plaintiff




                                      CERTIFICATE OF SERVICE

       I hereby certify that on August 21, 2023, I electronically transmitted the foregoing document

  to the Clerk’s Office using the ECF system for filing and transmittal of a Notice of Electronic

  Filing to all CM/ECF registrants of record in this matter.


         By: /s/ Trescot Gear




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